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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES—GENERAL

   Case No. 2:10-cv-07405-JHN–PJW                                     Date: December 5, 2011
   Title:   AdvoCare International, L.P. v. Jessica Hardy

   Present: The Honorable JACQUELINE H. NGUYEN

                Alicia Mamer                   Not Reported                           N/A
                Deputy Clerk             Court Reporter/Recorder                    Tape No.

             Attorneys Present for Plaintiffs:           Attorneys Present for Defendants:
                   Not Present                                   Not Present

   Proceedings: ORDER GRANTING IN PART AND DENYING IN PART
                DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT OR, IN
                THE ALTERNATIVE, PARTIAL SUMMARY JUDGMENT [78]
                (In Chambers)

   The matter before the Court is Defendant AdvoCare International, L.P. and
   Custom Nutrition Laboratories, LLC’s (“Defendants”) Motion for Summary
   Judgment or, in the Alternative, Partial Summary Judgment (“Motion”), filed on
   August 22, 2011. (Docket no. 78.) The Court has considered all pleadings and
   oral argument on November 28, 2011. For the reasons herein, the Motion is
   GRANTED in part and DENIED in part.

                                         I. BACKGROUND1

   On or about January 29, 2008 Plaintiff entered into an endorsement agreement with
   AdvoCare, whereby AdvoCare agreed to provide various nutritional supplement
   products to Plaintiff. (First Amended Complaint (“FAC”) ¶ 8.) Between January
   2008 and June 29, 2008, Plaintiff consumed Defendants’ products, including
   Arginine Extreme and Nighttime Recovery, on a regular basis and in accordance
   with the provided instructions. (FAC ¶ 10.) During this time, Plaintiff was
   training for the 2008 U.S. Olympic Swim Team Trials and competing in various
   domestic and international swimming meets. (Id.) During this time Plaintiff also
   submitted to a number of drug tests and always tested negative for any banned
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       The facts summarized herein are not in dispute unless indicated otherwise.

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   substance. (Id.) Between June 29 and July 6, 2008, Plaintiff competed in the U.S.
   Olympic Swim Team trials while continuing to use Defendants’ products pursuant
   to the recommendations. (FAC ¶ 11.)

   On July 4, 2008, Plaintiff provided a urine sample for drug testing. (FAC ¶ 12.)
   On July 21, 2008, Plaintiff was informed that her urine sample tested positive for
   clenbuterol, a banned substance, and she was disqualified from participating in the
   2008 Olympics in Beijing. (Id.) Plaintiff subsequently retained Anti-Doping
   Research, Inc. (“ADR”) to test Defendants’ products for the presence of
   clenbuterol. (FAC ¶ 14.) Dr. Don Catlin, founder and CEO of ADR, analyzed
   Arginine Extreme 41 times for clenbuterol, and found the presence of clenbuterol
   twice at “trace” levels from testing done between July 29, 2008 and October 17,
   2008. (Decl. of A. Dallas Wait (“Wait Decl.”) ¶ 16; Decl. of Adam LeBerthon
   (“LeBerthon Decl.”) Ex. B ¶¶ 4.4, 4.4.1, & 4.4.2.) On October 17, 2008, ADR
   tested two different samples of Arginine Extreme that came from the same packet.
   (Wait Decl. ¶ 19(b).) Although one of the samples tested positive for clenbuterol,
   a duplicate analysis of the same sample analyzed at the same time showed no
   clenbuterol. (Id.) Dr. Catlin’s testing of Nighttime Recovery also revealed the
   presence of clenbuterol. (FAC ¶ 14.)

   On September 25, 2008, Dr. George Maylin received a 4-gram packet of Arginine
   Extreme from Dr. Catlin, which he was asked to test for the presence of
   clenbuterol. (LeBerthon Decl. Ex. F ¶ 3.1.) On March 19, 2009, Dr. Maylin tested
   the product and also concluded that it contained clenbuterol. (Id. ¶ 4.2.)

   Dr. Catlin is a graduate of Yale University and the University of Rochester School
   of Medicine. (Decl. of Eric C. Strain (“Strain Decl.”) Ex. C, at 278-79.) Dr. Catlin
   was a resident at both the University of California at Los Angeles, and the
   University of Vermont at Burlington. (Id.) Dr. Catlin spent 25 years as the
   Director of the UCLA Olympic Analytical Laboratory, which he founded, and in
   that capacity oversaw and/or conducted all drug testing for the 1984 Olympic
   Games in Los Angeles, the steroid testing for the 1996 Olympic Games in Atlanta,
   and all of the testing for the 2002 Olympic Games in Salt Lake City. (Id. at 72-
   76.) In 2005, he left to found Anti-Doping Research in Los Angeles. (Id.) It is
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   undisputed that Dr. Catlin is one of the world’s leading doping experts, and that he
   is an expert in identifying substances by procedures including Liquid
   Chromatography Tandem Mass Spectrometry – better known as “LC/MS/MS” –
   which is the procedure both Drs. Catlin and Maylin used to test Defendants’
   products. (Id. at 6; Strain Decl. Ex. D.) According to Dr. Catlin, LC/MS/MS is the
   “state of the art method” for testing clenbuterol, in any form. (Strain Decl. Ex. C,
   at 7) It is also the method used by both the UCLA Olympic Analytical Laboratory
   and ADR. (Id.)

   Dr. George Maylin has both an MS and PhD in pharmacology from Cornell
   University. (Strain Decl. Ex. D.) He was the Director of the New York State
   Racing and Wagering Board Drug Testing and Research Program at Cornell
   University from 1971 to 2010, when he retired. (Id.) Dr. Maylin has used the
   LC/MS/MS testing method for 20 years. (Id.)

                                 II. LEGAL STANDARD

   Summary judgment is appropriate if “there is no genuine dispute as to any material
   fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
   56(a). The moving party bears the initial responsibility of informing the court of
   the basis of its motion, and identifying those portions of “the pleadings,
   depositions, answers to interrogatories, and admissions on file, together with the
   affidavits, if any,” which it believes demonstrate the absence of a genuine issue of
   material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986) (quoting Fed. R.
   Civ. P. 56(c)). The substantive law governing a claim determines whether a fact is
   material. T.W. Elec. Serv. v. Pac. Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th
   Cir. 1987); see also Long v. Cnty. of Los Angeles, 442 F.3d 1178, 1185 (9th Cir.
   2006) (“Material facts are those which may affect the outcome of the case.”)
   (internal citations omitted).

   At the summary judgment stage, the Court does not make credibility
   determinations or weigh conflicting evidence and draws all reasonable inferences
   in the light most favorable to the nonmoving party. T.W. Elec. Serv., 809 F.2d at
   630-31. The evidence presented must be admissible. Fed. R. Civ. P. 56(c)(2).
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                                     III. DISCUSSION

   A.    Admissibility of Expert Testimony

   Defendants move for summary adjudication, arguing that Plaintiff cannot present
   any admissible evidence in support of her claims because Plaintiff’s expert
   testimony fails to comply with Federal Rule of Evidence 702. (Mot. 1.) Plaintiff
   contends that the expert testimony is admissible and that Defendants’ arguments go
   to the weight the jury should give the experts’ testimony – not their admissibility.
   (Opp’n 17.)

   The admissibility of expert testimony is governed by Rule 702, as amended in
   2000 to reflect the Supreme Court’s holdings in Daubert v. Merrell Dow Pharm.,
   Inc., 509 U.S. 579 (1993) (hereinafter “Daubert I”), and Kumho Tire Co. v.
   Carmichael, 526 U.S. 137 (1999). In Daubert I, the Court charged trial judges
   with the responsibility of acting as gatekeepers to “ensure that any and all scientific
   testimony . . . is not only relevant, but reliable.” Daubert I , 509 U.S. at 589. Rule
   702 allows for expert testimony if “scientific, technical or other specialized
   knowledge will assist the trier of fact to understand the evidence or to determine a
   fact in issue.” Fed. R. Evid. 702. Rule 702 requires, inter alia, that a proposed
   expert witness’s testimony be the “product of reliable principles and methods.”
   Fed. R. Evid. 702. Under Rule 702, expert testimony is liberally admitted. See
   Fed. R. Evid. 702 Adv. Comm. Notes (2000 amends) (“A review of the case law
   after Daubert shows that the rejection of expert testimony is the exception rather
   than the rule.”).

   Pursuant to Daubert I, “the district court judge has a ‘gatekeeping role’ and must
   exclude expert scientific testimony that is not sufficiently reliable under Fed. R.
   Evid. 702. Expert testimony is inadmissible if there is ‘too great an analytical gap
   between the data and the opinion offered.’” Newkirk v. ConAgra Foods Inc., 2011
   WL 2421144 at *1 (9th Cir. 2011) (quoting Gen. Elec. Co. v. Joiner, 522 U.S. 136,
   146 (1997)). In order to assess reliability of expert testimony, Daubert I set forth a
   non-exclusive list of factors a court may consider. These factors include: (1)
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   whether the expert’s theory or technique has been tested; (2) whether the theory or
   technique has been subjected to peer review and publication; (3) the known or
   potential rate of error; (4) the existence and maintenance of standards and controls;
   and (5) whether the theory or technique is “generally accepted” in the scientific
   community. See Daubert I, 509 U.S. at 593-94. However, the Court’s inquiry
   should be “flexible.” Id.

   Dr. Catlin and Dr. Maylin utilized an LC/MS/MS tool for each test. (Strain Decl.
   Ex. C ¶ 4.3; Strain Decl. Ex. D ¶ 11.) Plaintiff contends that LC/MS/MS is a
   widely used testing method and that there is nothing novel or unreliable about
   LC/MS/MS. (Opp’n 16.) Defendants do not dispute this. In fact, Defendants’
   own non-designated expert also used LC/MS/MS to test Defendants’ products.
   (See Strain Decl. Ex. E.) In addition, at least one court has found that LC/MS/MS
   is generally accepted in the field of analytical and forensic chemistry. See United
   States v. Vitek Supply Corp., 144 F.3d 476, 485 (7th Cir. 1998). The Court agrees,
   and finds that LC/MS/MS is a method generally accepted in the scientific
   community.

   Here, during independent LC/MS/MS testing performed by both Dr. Catlin and Dr.
   Maylin, clenbuterol was found in AdvoCare Arginine Extreme. (Strain Decl. Ex.
   C ¶¶ 4.1-4.5; Strain Decl. Ex. D ¶¶ 10-12.) Nevertheless, Defendants argue that
   their testimony should be excluded because (1) the expert reports lack reliability
   because their test methods were not validated; and (2) the testing methods are not
   reproducible. (Mot. 13, 17.) The Court considers each of Defendants’ arguments,
   in turn.

         1. Reliability

                a.     Validation

   Defendants claim that Plaintiff’s experts’ testing methods are unreliable because
   they failed to perform a validation study. (Mot. 13.) Defendants cite to the
   international ISO/IEC Standard 17025 which states that “[t]he method developed
   shall have been validated appropriately before use.” (Id. at 14.) While it is true
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   that neither Dr. Catlin nor Dr. Maylin performed validation studies, Defendants fail
   to cite any authority requiring such studies to be performed in order for tests to be
   admissible. The Court’s own independent search has similarly turned up no
   authority requiring validation studies. Thus, non-conformance with the
   international ISO/IEC standard is not – in and of itself – grounds to determine
   exclude expert testimony. See Daubert I, 509 U.S. at 596 (“Vigorous cross-
   examination, presentation of contrary evidence, and careful instruction on the
   burden of proof are the traditional and appropriate means of attacking shaky but
   admissible evidence.”)

                b.     Revised Testing Methods

   Defendants also attack Dr. Catlin’s results on the grounds that Dr. Catlin revised
   his methods for clenbuterol testing four times. (Mot. 15.) Plaintiff acknowledges
   that while her experts used the same LC/MS/MS testing process throughout its
   testing of Defendants’ supplements, the experts did adjust the internal standard
   (“ISTD”) to improve the efficiency of the tests. (Strain Decl. Ex. C ¶ 4.3; Catlin
   Depo. 169:15-20.) “Changing an ISTD refers to altering the test chemicals in the
   sample solution, and/or their concentrations, that are added to maximize the test’s
   sensitivity for detecting the target molecule.” (Id.) Plaintiff contends, without
   dispute, that this is a normal and appropriate practice in analytical chemistry.
   (Catlin Decl. ¶ 2.6; Opp’n at 9.) As Plaintiff and its experts note, changing the
   ITSD would not allow a test to identify clenbuterol if it were not present. (Id.) As
   such, this argument does not provide a basis for excluding expert testimony.

                c.     Positive Tests for Both Products

   Defendants next argue that Dr. Catlin’s results are unreliable because both
   Arginine Extreme and Nighttime Recovery tested positive for clenbuterol. (Mot.
   16.) Defendants argue that Arginine Extreme and Nighttime Recovery are two
   entirely different products that use ingredients from different suppliers, and
   therefore conclude that it is “impossible” that both could contain clenbuterol.
   (Thomas Dollar Decl. ¶¶ 4-6; Mot. 16.) The Court disagrees. While it may be
   unlikely that both products were contaminated with clenbuterol, it is not
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   “impossible.” In fact, based on the expert testimony, a reasonable person could
   certainly find that the product did contain clenbuterol. Nevertheless, once again,
   this is an issue best dealt with during trial.

                d.     Dr. Maylin’s Data

   Defendants next claim that Dr. Maylin’s test results are unreliable because he
   failed to provide data summary reports and method validation studies. Defendants
   claim that it is therefore “impossible to assess Dr. Maylin’s data quality or the
   reliability of the testing he performed” because he only attached a “partial data
   package” to his Expert Witness Report. (Mot. 17.) Nevertheless, Defendant has
   provided no citation to any authority that requires such information as a threshold
   for admissibility. The fact is that Dr. Maylin used the well-established LC/MS/MS
   testing method – a test that was also used by Defendants. Any doubt about Dr.
   Maylin’s laboratory procedures is subject to debate at trial before a factfinder. See,
   e.g., United States v. Hicks, 103 F.3d 837 (9th Cir. 1996), rev’d on other grounds,
   U.S. v. W.R. Grace, 526 F.3d 499 (9th Cir. 2008).

         2.     Reproducibility

   Defendants argue that Plaintiff’s expert testimony is inadmissible because Dr.
   Catlin’s testing methods are not reproducible. (Mot. 18.) While Dr. Catlin states
   that Defendants’ products tested positive for clenbuterol on two separate occasions,
   Defendants contend that the results were “likely false positive[s.]” (Id.)

   However, Dr. Catlin, in his expert report, states that people could reproduce his
   work “if they follow the steps.” (Catlin Depo. 126:3-10.) Indeed, Dr. Catlin says,
   “We’d talk to them and help them.” (Id.)

   In support of their argument, Defendants cite to Elock v. Kmart Corp, 233 F.3d
   734 (3rd Cir. 2000) and an unpublished case in support of their assertion. Elock is
   clearly distinguishable. First, the expert in Elock was an expert in vocational
   rehabilitation, a non-scientific field. Id. at 738. Moreover, the court noted that the
   expert’s methodology was “subjective” and that “an expert trying to reproduce [the
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   expert’s] methods would be lost.” Id. at 747-48. Here, on the other hand, Dr.
   Catlin produced the methods, and has stated that they are reproducible.
   Defendants have provided no evidence to the contrary. All Defendants argue in
   their Motion is that different samples gave different results. However, this fact –
   according to Doctors Catlin and Maylin – is understandable because the samples
   are heterogeneous. (Mot. 18.) In short, Defendants have failed to provide any
   legitimate reason for this Court to exclude Dr. Catlin’s and Dr. Maylin’s expert
   testimony. The Court finds that their testimony is the product of reliable principles
   and methods, and may be admitted pursuant to Fed. R. Evid. 702.

   B.    Negligence Claim

   Defendants next move for partial summary judgment as to Plaintiff’s first cause of
   action for negligence. (Mot. 18.) “Under California law, ‘[t]he elements of
   negligence are: (1) defendant's obligation to conform to a certain standard of
   conduct for the protection of others against unreasonable risks (duty); (2) failure to
   conform to that standard (breach of the duty); (3) a reasonably close connection
   between the defendant's conduct and resulting injuries (proximate cause); and (4)
   actual loss (damages).’” Corales v. Bennett, 567 F.3d 554, 572 (9th Cir. 2009)
   (quoting McGarry v. Sax, 158 Cal.App.4th 983, 994 (2008)). Here, Defendants
   challenge the first element of Plaintiff’s negligence claim. (See Mot. 18-19.)

         1.     Negligence Related to the Sale of Arginine Extreme

   Plaintiff alleges, inter alia, that Defendants were negligent because they
   “[c]arelessly and negligently offered for sale or distribution to athletes products
   contaminated with clenbuterol.” (FAC ¶ 21(c).) Defendants’ expert, Daniel
   Spyker, acknowledged that clenbuterol is not approved by the F.D.A. and cannot
   be in products meant for human consumption in the United States. (Strain Decl.
   Ex. F, Daniel Spyker Depo. 28:23-30:17.)

   “If the matter in issue is one within the knowledge of experts only and not within
   the common knowledge of laymen, it is necessary for the plaintiff to introduce
   expert opinion evidence in order to establish a prima facie case.” Mill v. Los
   ______________________________________________________________________________
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   Angeles County Flood Control Dist., 8 Cal.3d 689, 702 (1973) (emphasis in
   original).

   Plaintiff contends that an expert is not necessary for a jury to conclude that
   Defendants’ actions fell below the standard of care, if clenbuterol – a substance
   illegal for human consumption in the United States – ended up in Defendants’
   supplements. (Opp’n 21.) In other words, Plaintiff argues that it is within the
   common knowledge of the jury that a banned substance should not have been in
   Defendants’ supplement. (Id. at 22.)

   The Court agrees with Plaintiff. Expert testimony is not required to establish the
   applicable standard of care because the fact that a banned substance should not be
   in a product meant for human consumption would be within the common
   knowledge of the jury.

         2.     Negligence Related to the Design and Manufacture of Arginine
                Extreme

   Defendants argue that Plaintiff’s negligence claim must fail because Plaintiff did
   not designate an expert to establish the applicable standard of care for designing,
   formulating and manufacturing nutritional supplements. (Mot. 20.) Defendant
   contends that “there are several specialized areas of knowledge that are utilized
   when manufacturing a nutritional supplement, such as the design and layout of
   manufacturing facilities to minimize contamination, the air management system of
   the manufacturing facility and protocols and procedures.” (Id.) Defendant argues,
   therefore, that the standard of is “clearly outside the common knowledge of the
   jury.” (Id.) The Court agrees, and finds that an expert is required to establish the
   standard of care for the design and manufacture of a product because those are not
   issues within the common knowledge of laymen. Mill, 8 Cal.3d at 702.

   Therefore, Defendants’ Motion is GRANTED with respect to Plaintiff’s claims for
   negligence as contained in FAC Paragraphs 21(a)-(b), (d), (f), (g), (i), (j), (k), (l)
   and (n). It is DENIED with respect to Plaintiff’s other assertions of negligence.

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                                IV.   CONCLUSION

For the foregoing reasons, Defendants’ Motion for Summary Judgment, and in the
Alternative, Partial Summary Judgment is GRANTED in part, and DENIED in
part. (Docket no. 78.)

IT IS SO ORDERED.
                                                                                   ___: N/A
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